RE: IMPOSITION OF AD VALOREM TAXES ON PERSONAL PROPERTY
ATTORNEY GENERAL HENRY HAS RECEIVED YOUR RECENT LETTER ASKING FOR ADVICE AS TO THE LAWFULNESS OF CERTAIN PRACTICES RELATING TO THE ASSESSMENT OF PERSONAL PROPERTY AD VALOREM TAXES UNDER 68 O.S. 2437 (1981). HE HAS AUTHORIZED ME TO RESPOND TO YOU THROUGH THIS PERSONAL INFORMAL LETTER, AS THE QUESTIONS THAT YOU RAISE HAVE ALREADY BEEN ADDRESSED IN RECENTLY ISSUED OFFICIAL OPINIONS.
IN ATTORNEY GENERAL OPINION NO. 88-014, ISSUED ON MARCH 14, 1988, THE ATTORNEY GENERAL ADVISED THAT THE TERMS OF THE STATE'S TAX CODE, AS THEY RELATE TO THE ASSESSMENT OF AD VALOREM TAXES ON PERSONAL PROPERTY, DO NOT REQUIRE THAT ANY SPECIAL NOTICE BE GIVEN TO A TAXPAYER WHERE THERE HAS BEEN NO INCREASE IN ASSESSMENT FROM THAT ASSESSED OVER THE PROPERTY IN PREVIOUS YEARS. HOWEVER, THE OPINION CONTINUES, WHERE THERE IS AN INCREASE IN ASSESSED VALUE, OR WHERE THE ASSESSOR DETERMINES THE VALUE OF PROPERTY PURSUANT TO 68 O.S. 2437 (1981), THE TAXPAYER MUST BE PROVIDED NOTICE OF THE VALUATION, AND AN OPPORTUNITY TO FILE A COMPLAINT AS TO THAT VALUATION. THE OPINION STRESSES THROUGHOUT ITS ENTIRETY THE NEED FOR PROPER NOTICE AND OPPORTUNITY TO BE HEARD AS A FUNDAMENTAL RIGHT TO DUE PROCESS.
IN SIMILAR FASHION, ATTORNEY GENERAL OPINION NO. 84-041 REVIEWED THE TERMS OF SECTION 68 O.S. 2437 AND ADVISED THAT THE OWNER OF REAL PROPERTY WHO IS NOT THE OWNER OF PERSONAL PROPERTY (IN THE INSTANCE IN THE OPINION, A MOBILE HOME) SITUATED UPON THAT REAL PROPERTY MAY NOT BE ASSESSED FOR AD VALOREM TAXATION PURPOSES THE VALUE OF THE PERSONALTY UNLESS HE OR SHE IS IN CHARGE OF THE PERSONALTY, IN AN AGENCY RELATIONSHIP WITH THE TRUE OWNER. THE OPINION FURTHER RECITES THAT A PERSON HAVING SUCH CONTROL, CHARGE OR POSSESSION OF PERSONALTY, AND HAVING KNOWLEDGE OF THE VALUE AND TRUE OWNERSHIP OF SAME, AND WHO, ON REQUEST BY THE COUNTY ASSESSOR, FAILS TO REPORT SUCH INFORMATION, MAY BE PERSONALLY LIABLE FOR THE TAXES ON SAME.
THE OPINION CONCLUDES THAT IT IS ALWAYS A QUESTION OF FACT AS TO WHETHER A PERSON HAS CONTROL, CHARGE, OR POSSESSION OF PERSONAL PROPERTY, AND THEREFORE, NO FURTHER GENERAL COMMENTS ON THAT SUBJECT COULD BE GIVEN. NOTE, IN THIS REGARD, HOWEVER, THAT THE OPINION ALSO DISCUSSES THAT IF THERE IS NO IDENTIFIABLE OWNER, AND IF THERE IS NO PERSON IN CHARGE OF SUCH PERSONAL PROPERTY AS AGENT, THE LAW CONTEMPLATES THAT IT BE LISTED AND ASSESSED AS TO "OWNER UNKNOWN". THIS PHRASE CLEARLY CONTEMPLATES THAT IN SUCH CASES, THE TAXATION IMPOSITION IS PROTECTED, BUT THERE IS NO FURTHER INTENT TO ATTEMPT TO IMPOSE A TAX UPON ONE WITH NO OWNERSHIP INTERESTS, OR AGENCY RELATIONSHIP WITH THE OWNER.
I HAVE TAKEN THE LIBERTY OF ENCLOSING FOR YOUR REVIEW COPIES OF THESE TWO OPINIONS. IF AFTER REVIEWING SAME YOU FEEL THAT YOUR QUESTIONS HAVE NOT BEEN ADEQUATELY ADDRESSED IN THEM, PLEASE FEEL FREE TO CONTACT ME IMMEDIATELY.
(MICHAEL SCOTT FERN)